        Case 1:18-md-02865-LAK            Document 81        Filed 02/22/19      Page 1 of 6



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                                         February 22, 2019



Via ECF and Federal Express

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007

               Re:     In re: Customs and Tax Administration of the Kingdom of Denmark
                       (SKAT) Tax Refund Litigation, Docket Number 18-md-2865 (LAK)

Dear Judge Kaplan:

        The purpose of this letter is to inform you that Defendants in the consolidated cases, as set
forth below, filed Answers today with the Court in the dockets for their respective actions. As set
forth in our letter, dated February 20, 2019, counsel made good faith effort to comply with
Paragraph 1 of the Court's Pretrial Order No. 4, dated October 10, 2018 [ECF Dk. # 2], which
requires the filings to be made in the master docket and "spread" to the action it applies to, but was
unable to do so. Filing an Answer in the master docket would not allow the filing to be "spread"
to the appropriate action to which it related. Counsel for the Defendants contacted the Clerk's
Office and the ECF Help Desk and made a formal request for the technical "glitch" to be fixed.
On February 21, 2019, counsel followed up with the ECF Help Desk and was informed that this is
not a "glitch;" rather the system is set up in a manner that does not allow a "spreading" option
when the filing is made under "Answer to Complaint." To ensure that the filed Answers accurately
correlate to the appropriate Complaints, counsel filed the Answers in the respective dockets for
each of the actions to which they relate.

        To comply with the Court's Pretrial Order No. 4, we are attaching the following Answers,
filed today, as exhibits to this Letter:

             1. Answer to the Complaint by The Atlantic DHR 401K Plan, SKATv. The Atlantic
                DHR 401K Plan et al., Docket Number 1:18-cv-04430-LAK;

             2. Answer to the Complaint by Doston Bradley, SKAT v. The Atlantic DHR 401K
                Plan et al., Docket Number 1:18-cv-04430-LAK;




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                        Case 1:18-md-02865-LAK        Document 81      Filed 02/22/19    Page 2 of 6

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                            3. Answer to the Complaint by The Bradley London Pension Plan, SKAT v. The
                               Bradley London Pension Plan et al., Docket Number 1:18-cv-04047-LAK;

                            4. Answer to the Complaint by Doston Bradley, SKAT v. The Bradley London
                               Pension Plan et al., Docket Number 1:18-cv-04047-LAK;

                            5. Answer to the Complaint by The Busby Black 401K Plan, SKAT v. The Busby
                               Black 401K Plan et al., Docket Number 1:18-cv-04522-LAK;

                            6. Answer to the Complaint by Doston Bradley, SKATv. The Busby Black401K Plan
                               et al., Docket Number 1:18-cv-04522-LAK;

                            7. Answer to the Complaint by The Canada Rock LLC 401K Plan, SKAT v. The
                               Canada Rock LLC 401K Plan et al., Docket Number 1: 18-cv-04531-LAK;

                            8. Answer to the Complaint by Doston Bradley, SKAT v. The Canada Rock LLC
                               401K Plan et al., Docket Number 1: 18-cv-04531-LAK;

                            9. Answer to the Complaint by The DMR Pension Plan, SKATv. The DMR Pension
                               Plan et al., Docket Number 1:18-cv-04049-LAK;

                            10. Answer to the Complaint by Doston Bradley, SKATv. The DMR Pension Plan et
                                al., Docket Number 1:18-cv-04049-LAK;

                            11. Answer to the Complaint by The Dosmon Bly Pension Plan, SKAT v. The Dosmon
                                Bly Pension Plan et al., Docket Number 1:18-cv-05045-LAK;

                            12. Answer to the Complaint by Doston Bradley, SKAT v. The Dosmon Bly Pension
                                Plan et al., Docket Number 1: 18-cv-05045-LAK;

                            13. Answer to the Complaint by The Houston Rocco LLC 401K Plan, SKAT v. The
                                Houston Rocco LLC 401K Plan et al., Docket Number 1:18-cv-04050-LAK;

                            14. Answer to the Complaint by Doston Bradley, SKAT v. The Houston Rocco LLC
                                401K Plan et al., Docket Number 1:18-cv-04050-LAK;

                            15. Answer to the Complaint by The India Bombay LLC 401K Plan, SKAT v. The
                                India Bombay LLC 401 K Plan et al., Docket Number 1: 18-cv-05057-LAK;

                            16. Answer to the Complaint by Doston Bradley, SKAT v. The India Bombay LLC
                                401K Plan et al., Docket Number 1:18-cv-05057-LAK;

                            17. Answer to the Complaint by The ISDB Pension Plan, SKAT v. The ISDB Pension
                                Plan et al., Docket Number 1:18-cv-04536-LAK;

                            18. Answer to the Complaint by Doston Bradley, SKAT v. The ISDB Pension Plan et
                                al., Docket Number 1:18-cv-04536-LAK;


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                    Case 1:18-md-02865-LAK        Document 81      Filed 02/22/19    Page 3 of 6


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                        19. Answer to the Complaint by The LBR Capital Pension Plan, SKAT v. The LBR
                            Capital Pension Plan et al., Docket Number 1: 18-cv-04052-LAK;

                        20. Answer to the Complaint by Doston Bradley, SKAT v. The LBR Capital Pension
                            Plan et al., Docket Number 1: 18-cv-04052-LAK;

                        21. Answer to the Complaint by The Morrin Amper Pension Plan, SKATv. The Manin
                            Amper Pension Plan et al., Docket Number 1:18-cv-04538-LAK;

                        22. Answer to the Complaint by Doston Bradley, SKATv. The Manin Amper Pension
                            Plan et al., Docket Number 1:18-cv-04538-LAK;

                        23. Answer to the Complaint by The NYC Stanismore Pension Plan, SKAT v. The
                            NYC Stanismore Pension Plan et al., Docket Number 1: 18-cv-04541-LAK;

                        24. Answer to the Complaint by Doston Bradley, SKAT v. The NYC Stanismore
                            Pension Plan et al., Docket Number 1:18-cv-04541-LAK;

                        25. Answer to the Complaint by The Proper Pacific LLC 401 K Plan, SKAT v. The
                            Proper Pacific LLC 401K Plan et al., Docket Number 1:18-cv-04051-LAK;

                        26. Answer to the Complaint by Doston Bradley, SKAT v. The Proper Pacific LLC
                            401K Plan et al., Docket Number 1:18-cv-04051-LAK;

                        27. Answer to the Complaint by The Texas Rocco LLC 401KPlan, SKATv. The Texas
                            Rocco LLC 401K Plan et al., Docket Number 1: 18-cv-04543-LAK;

                        28. Answer to the Complaint by Doston Bradley, SKATv. The Texas Rocco LLC 401K
                            Plan et al., Docket Number 1:18-cv-04543-LAK;

                        29. Answer to the Complaint by The KASV Group Pension Plan, SKATv. The KASV
                            Group Pension Plan et al., Docket Number 1:18-cv-05309-LAK;

                        30. Answer to the Complaint by Roger Lehman, SKAT v. The KASV Group Pension
                            Plan et al., Docket Number 1: 18-cv-05309-LAK;

                        31. Answer to the Complaint by Svedin Petkov, SKAT v. The KASV Group Pension
                            Plan et al., Docket Number 1:18-cv-05309-LAK;

                        32. Answer to the Complaint by The Petkov Management LLC 401K Plan, SKAT v.
                            The Petkov Management LLC 401K Plan et al., Docket Number 1:18-cv-05300-
                            LAK;

                        33. Answer to the Complaint by Svedin Petkov, SKATv The Petkov Management LLC
                            401K Plan et al., Docket Number 1:18-cv-05300-LAK;

                        34. Answer to the Complaint by The Petkov Partners Pension Plan, SKAT v. The
                            Petkov Partners Pension Plan et al., Docket Number 1:18-cv-05299-LAK;

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                    Case 1:18-md-02865-LAK         Document 81       Filed 02/22/19    Page 4 of 6


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                        35. Answer to the Complaint by Roger Lehman, SKAT v. The Petkov Partners
                            Pension Plan et al., Docket Number 1:18-cv-05299-LAK;

                        36. Answer to the Complaint by Svetlin Petkov, SKATv. The Petkov Partners Pension
                            Plan et al., Docket Number 1: 18-cv-05299-LAK;

                        37. Answer to the Complaint by The SPKK LLC 401K Plan, SKATv. The SPKK LLC
                            401K Plan, et al. Docket Number 1:18-cv-05308-LAK;

                        38. Answer to the Complaint by Roger Lehman, SKATv. The SPKK LLC 401K Plan
                            et al., Docket Number 1:18-cv-05308-LAK;

                        39. Answer to the Complaint by Svetlin Petkov, SKAT v. The SPKK LLC 401K Plan
                            et al., Docket Number 1: 18-cv-05308-LAK;

                        40. Answer to the Complaint by The SVP 401K Plan, SKATv. The SVP 401K Plan et
                            al., Docket Number 1:18-cv-05305-LAK;

                        41. Answer to the Complaint by Roger Lehman, SKAT v. The SVP 401K Plan et al.,
                            Docket Number 1: 18-cv-05305-LAK;

                        42. Answer to the Complaint by Svetlin Petkov, SKAT v. The SVP 401K Plan et al.,
                            Docket Number 1: 18-cv-05305-LAK;

                        43. Answer to the Complaint by Ackview Solo 401K Plan, SKAT v. Ackview Solo
                            401 K Plan et al., Docket Number 1: 18-cv-04900-LAK;

                        44. Answer to the Complaint by Sean Driscoll, SKAT v. Ackview Solo 401K Plan et
                            al., Docket Number 1:18-cv-04900-LAK;

                        45. Answer to the Complaint by NYCATX LLC Solo 401K Plan, SKATv. NYCATX
                            LLC Solo 401K Plan et al., Docket Number 1:18-cv-04898-LAK;

                        46. Answer to the Complaint by Carl Andrew Vergari, SKAT v. NYCATX LLC Solo
                            401K Plan, Docket Number 1:18-cv-04898-LAK;

                        4 7. Answer to the Complaint by Sanford Villa Pension Plan, SKAT v. Sanford Villa
                             Pension Plan et al., Docket Number 1:18-cv-04767-LAK;

                        48. Answer to the Complaint by Roger Lehman, SKAT v. Sanford Villa Pension Plan
                            et al., Docket Number 1:18-cv-04767-LAK;

                        49. Answer to the Complaint by The Aston Advisors LLC 401K Plan, SKAT v. The
                            Aston Advisors LLC 401K Plan et al., Docket Number 1: 18-cv-04770-LAK;

                        50. Answer to the Complaint by Roger Lehman, SKAT v. The Aston Advisors LLC
                            401K Plan et al., Docket Number 1:18-cv-04770-LAK;


                                                          4
                    Case 1:18-md-02865-LAK         Document 81      Filed 02/22/19     Page 5 of 6


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                        51. Answer to the Complaint by The M2F Wellness LLC 401K Plan, SKAT v. The
                            M2F Wellness LLC 401K Plan et al., Docket Number 1:18-cv-04890-LAK;

                        52. Answer to the Complaint by Mitchell Protass, SKAT v. The M2F Wellness LLC
                            401K Plan et al., Docket Number 1:18-cv-04890-LAK;

                        53. Answer to the Complaint by The MPQ Holdings LLC 401K Plan, SKAT v. The
                            MPQ Holdings LLC 401K Plan et al., Docket Number 1:18-cv-04892-LAK;

                        54. Answer to the Complaint by Mitchell Protass, SKAT v. The MPQ Holdings LLC
                            401K Plan et al., Docket Number 1:18-cv-04892-LAK;

                        55. Answer to the Complaint by The Sector 230 LLC 401K Plan, SKATv. The Sector
                            230 LLC 401K Plan et al., Docket Number 1:18-cv-04771-LAK;

                        56. Answer to the Complaint by The Stor Capital Consulting LLC 401K Plan, SKAT
                            v. The Stor Capital Consulting LLC 401K Plan et al., Docket Number 1:18-cv-
                            04434-LAK;

                        57. Answer to the Complaint by The TKKJ LLC 401K Plan, SKATv. The TKKJ LLC
                            401K Plan et al., Docket Number 1:18-cv-04896-LAK; and

                        58. Answer to the Complaint by Thomas Kertelits, SKATv. The TKKJ LLC 401K Plan
                            et al., Docket Number 1:18-cv-04896-LAK.

           Please be advised that two copies of this letter and each of the filed Answers as set forth
     above will also be delivered to the Chambers.



                                                             Respectfully submitted,




                                                             Mark Allison, Esq.
                                                             Counsel for the Defendants
                                                             Ackview Solo 401K Plan
                                                             NYCATX LLC Solo 401K Plan
                                                             Sanford Villa Pension Plan
                                                             The Aston Advisors LLC 401K Plan
                                                             The Atlantic DHR 401K Plan
                                                             The Bradley London Pension Plan
                                                             The Busby Black 401K Plan
                                                             The Canada Rock LLC 401K Plan
                                                             The DMR Pension Plan
                                                             The Dosmon Bly Pension Plan
                                                             The Houston Rocco LLC 401K Plan

                                                         5
                    Case 1:18-md-02865-LAK    Document 81    Filed 02/22/19    Page 6 of 6


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                                                       The LBR Capital Pension Plan
                                                       The M2F Wellness LLC 401K Plan
                                                       The Manin Amper Pension Plan
                                                       The MPQ Holdings LLC 401K Plan
                                                       The NYC Stanismore Pension Plan
                                                       The Petkov Management LLC 401K Plan
                                                       The Petkov Partners Pension Plan
                                                       The Proper Pacific LLC 401K Plan
                                                       The Sector 230 LLC 401K Plan
                                                       The SPKK LLC 401K Plan
                                                       The Star Capital Consulting LLC 401K Plan
                                                       The SVP 401K Plan
                                                       The Texas Rocco LLC 401K Plan
                                                       The TKKJ LLC 401K Plan
                                                       Roger Lehman
                                                       Sean Driscoll
                                                       Carl Andrew Vergari
                                                       Doston Bradley
                                                       Svetlin Petkov
                                                       Mitchell Protass
                                                       Thomas Kertelits


     cc:        Plaintiffs Counsel via ECF.




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